                   Case 4:11-cr-00156-JM                     Document 746             Filed 11/20/14         Page 1 of 1
         Order Regarding Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(2)

                                                                                                                    FILED
                                   UNITED STATES DISTRICT COURT
                                                       Eastern District of Arkansas
                                                                                                                  NOV 2 0 2014
                   UNITED STATES OF AMERICA                                                                  JAME~K
                                                                                                             By· 51
                                       v.                                                                    ·~K
                                                                                      Case
                                                                                                    4:11CR00156-02-JLH
                          Michael Richard Meilke                                      Number:
                                                                                      USM           26440-009

Date of Original Judgment:                          February 7, 2013

Date of Previous Amended Judgment: NIA                                                NIA
(Use Date of Last Amended Judgment if Any)                                            Defendant's Attorney



       ORDER REGARDING MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(C)(2)

      Upon motion of        D the defendant     D the Director of the Bureau of Prisons      X the court
      under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline
      sentencing range that has subsequently been lowered and made retroactive by the United States Sentencing
      Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion, and taking into account
      the policy statement set forth at USSG § lBl.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a),
      to the extent that they are applicable,

      IT IS ORDERED that the motion is:
             D DENIED.
             X GRANTED and the defendant's previously imposed sentence of imprisonment of
                   162 months is reduced to 135 months.




Except as provided above, all provisions of the judgment dated February 7, 2013 will remain in effect.

IT IS SO ORDERED.

Order Date:     ~ 2C..: 7,01~

Effective Date: November l, 2015
                (If different from order date)




                                                               Page 1 of 2
